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 6                        IN THE UNITED STATES DISTRICT COURT

 7                                FOR THE DISTRICT OF ARIZONA

 8   Linda O’Connor,                           )    No. CV-17-02068-PHX-SPL
                                               )
 9                                             )
                     Plaintiff,                )    ORDER
10   vs.                                       )
                                               )
11                                             )
     Navient Solutions, LLC, et al.,           )
12                                             )
                     Defendants.               )
13                                             )
                                               )
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15          Having considered the parties’ stipulation,

16          IT IS ORDERED:

17          1. That the Stipulation for Dismissal (Doc. 29) is granted;

18          2. That Defendant Navient Solutions, LLC is dismissed with prejudice;

19          3. That each party shall bear its own costs and attorneys’ fees; and

20          4. That, Defendant Navient Solutions, LLC being the only remaining defendant in

21   this case, the Clerk of Court shall terminate this action.

22          Dated this 9th day of February, 2018.

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24                                                        Honorable Steven P. Logan
                                                          United States District Judge
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